Michael T. Fisher, Petitioner, v. Commissioner of Internal Revenue, RespondentFisher v. CommissionerDocket No. 29962United States Tax Court16 T.C. 1144; 1951 U.S. Tax Ct. LEXIS 184; May 23, 1951, Promulgated *184 Decision will be entered for the petitioner.  Credit for Dependents -- Support -- Brother's Children -- Section 25 (b) (1) (C) and (3) (F).  -- A taxpayer, who supplied about two-thirds of the support of his brother's family, including his wife and six minor children, is entitled to claim at least four of the children as dependents for the purpose of the credits allowed by section 25 (b).  Donald M. Borth, Esq., for the petitioner.Charles M. Greenspan, Esq., for the respondent.  Murdock, Judge.  MURDOCK *1144  The Commissioner determined a deficiency of $ 380 in the income tax of the petitioner for 1947.  The only issue is whether the petitioner is entitled to credit for four dependents, being four of his brother's six minor children, under section 25 (b) (1) (C) and (3) (F).FINDINGS OF FACT.The petitioner filed his return for 1947 with the collector of internal revenue for the fourteenth district of New York.  His income of $ 2,793.58 for 1947 consisted principally of wages earned as a tool grinder.  He worked at Schenectady during 1947 and, while there, paid about $ 25 to $ 30 a week for room and board.  He was unmarried.*1145  His brother, Louis, was married*185  and lived in Warrensburg, New York.  Louis and his wife had six minor children during all of 1947 -- Michael and Grant, twins, aged about 2; Joan, aged about 4; Carol, aged about 6; and Thomas and Louis.  The children had no income.  Louis, the father, was partially disabled as a result of service in the armed forces of the United States during World War II, was not regularly employed, earned only about $ 200 during 1947, and received $ 200 from a trust fund.  His wife did not work and had no income during 1947.  His wife's father, a grocer, supplied them during 1947 with groceries worth a little more than $ 300.  Louis received a little money from his parents.  The petitioner gave Louis about $ 1,400 during 1947 for the support and maintenance of his children.  He, his wife, and their children lived meagerly, using all of the funds thus made available to them.  Louis had no other means of support during 1947.The petitioner, on his return for 1947, claimed credits for four dependents, naming his brother Louis' four youngest children.  The Commissioner, in determining the deficiency, denied all four credits claimed.  The petitioner furnished over half of the support of at least four*186  of his brother's minor children for 1947.OPINION.The petitioner is clearly entitled to the credits claimed on his return and it is unfortunate that any question about them persisted with the consequent expense to the petitioner which he can so ill afford, which was so unnecessary, and which the Court can not assess on the other party.  It is difficult to understand why some representative of the Commissioner did not learn the facts at no expense to the petitioner and approve the credits claimed.  Not only should the case have been settled without trial, but it should never have arisen.  Counsel for the Commissioner, after trial, indicated to the Court that the case would not be further contested.Decision will be entered for the petitioner.  